               EXHIBIT 01
                    to
                Declaration
                    of
             Stephanie Richey




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Lopes, Liz (USATNM)

From:              Sweet, Kara (USATNM)
Sent:              Monday, August 15, 2022 9:28 AM
To:                Robert S. Salcido (rsalcido@akingump.com); Roark, Brian; taylor.sample@bassberry.com; Chenery,
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Cc:                Lopes, Liz (USATNM); Shuford, Wynn (USATNM); bryanvroon@gmail.com; Seth Hyatt; Jerry Martin
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All:

Attached please find the US’ production of GOV000552‐653.

Kara




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                                                                           Page 2 of 2 PageID #: 13261
